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                    UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF CALIFORNIA


 DAVID GOULD;                          Case No. 8:23-cv-01344-JWH-DFM
 KAUSHIK IYENGAR;
 BRENDON LOBO;
 JOHN NIXON;                           ORDER GRANTING
 JANE CHANG BRIGHT;                    DEFENDANTS’ MOTIONS TO
 SHANE MAHON;                          COMPEL ARBITRATION [ECF
 PETER CONHEIM; and                    No. 29 and 32]
 KINGSLEY BARNIE, individually and
   on behalf of all others similarly
   situated,

            Plaintiffs,
       v.
 HYUNDAI MOTOR COMPANY;
 HYUNDAI MOTOR AMERICA;
 KIA CORPORATION;
 KIA AMERICA, INC.;
 GENESIS MOTOR, LLC; and
 GENESIS MOTOR AMERICA LLC,
            Defendants.
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                              I. SUMMARY OF DECISION

         Before the Court are two motions:

      x the motion of Defendant Kia America, Inc. to compel arbitration of the claims
        asserted by Plaintiffs Jane Chang Bright and Kingsley Barnie; 1 and
      x the motion of Defendant Hyundai Motor America, Inc. to compel arbitration of
        the claims asserted by Plaintiffs David Gould, Kaushik Iyengar, Brendon Lobo,
        John Nixon, Shane Mahon, and Peter Conheim. 2

 The Court concludes that these matters are appropriate for resolution without a hearing.
 See Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in support and in
 opposition, 3 the Court orders that the Motions are GRANTED, 4 for the reasons set forth
 herein.


                                   II. BACKGROUND

 A.      Procedural History

         In July 2023, Plaintiffs David Gould, Kaushik Iyengar, and John Nixon
 commenced this action, on behalf of themselves and all others similarly situated. 5 Two
 months later, Plaintiffs Jane Chang Bright, Peter Conheim, Kingsley Barnie, and Shane
 Mahon, on behalf of themselves and all others similarly situated, commenced a related
 action. 6 Both actions arise from allegations that Defendants Hyundai Motor Company,
 Ltd.; Hyundai Motor America, Inc.; Kia America, Inc.; Kia Corporation; Genesis Motor

 1
       Def. Kia America, Inc.’s Mot. to Compel Individual Arbitration (the “Kia Motion”)
 [ECF No. 29].
 2
       Def. Hyundai Motor America Inc.’s Mot. to Compel Individual Arbitration (the
 “Hyundai Motion”) [ECF No. 32].
 3
        See Pls.’ Omnibus Opposition to the Kia Motion and the Hyundai Motion (the
 “Opposition”) [ECF No. 38]
 4
        The Court considered the documents of record in this action, including the following
 papers: (1) First Am. Consolidated Class Action Compl. (the “Amended Complaint”) [ECF
 No. 27]; (2) Kia Motion (including its attachments); (3) Hyundai Motion (including its
 attachments); (4) Opposition (including its attachments); (5) Kia’s Reply in Supp. of the Kia
 Motion (the “Kia Reply”) (including its attachments) [ECF No. 40]; and (6) Hyundai’s Reply in
 Supp. of the Hyundai Motion (the “Hyundai Reply”) (including its attachments) [ECF No. 41].
 5
        Compl. [ECF No. 1].
 6
        Bright v. Hyundai Motor Co. Ltd., Case No. 8:23-cv-01602-JWH-DFM (C.D. Cal.
 Sept. 27, 2023) [ECF No. 1] (the “Bright Case”).


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 LLC; and Genesis Motor America LLC manufactured, sold, and leased electric vehicles
 that do not charge reliably or as advertised. In October 2023, the parties stipulated to
 consolidate the instant action and the Bright Case. 7 The Court granted that stipulation
 and concluded that this action and the Bright Case are appropriate for consolidation under
 Rule 42(a) of the Federal Rules of Civil Procedure. 8

         Later in October 2023, Plaintiffs filed their consolidated Amended Complaint.
 The next month, Kia and Hyundai moved to compel arbitration. In the Kia Motion, Kia
 notes that Kia Corporation has not been served, but, assuming that Kia Corporation is
 later served and is subject to personal jurisdiction, the arbitration agreement applies
 equally to that entity. 9 Similarly, in the Hyundai Motion, Hyundai notes that Hyundai
 Motor Company has not been served, but, assuming that Hyundai Motor Company is
 later served and is subject to personal jurisdiction, the arbitration agreement likewise
 applies equally to that entity. 10

        These Motions are fully briefed. Plaintiffs filed an Omnibus Opposition, 11 which
 responds to the arguments that Kia and Hyundai make in both Motions. Kia and Hyundai
 filed Replies 12 in support of their respective Motions.

 B.      Facts

         The factual allegations in the Amended Complaint are summarized as follows:

      x Gould, a New York resident, purchased a MY 2023 Ioniq 5 electric vehicle from a
        Hyundai dealership in New York. 13
      x Iyengar, a Georgia resident, purchased a MY 2023 Ioniq 5 Limited electric vehicle
        from a Hyundai dealership in New York. 14
      x Lobo, a Georgia resident, purchased a Hyundai 5 SE electric vehicle from a
        Hyundai dealership in Georgia. 15



 7
         Joint Stip. to Transfer and Consolidate Cases [ECF No. 31 in the Bright Case].
 8
         Ord. Granting Joint Stip. to Consolidate Cases [ECF No. 28].
 9
         Kia Motion 6:26-28 n.1.
 10
         Hyundai Motion 7:26-28 n.1.
 11
         See Opposition.
 12
         See Kia Reply; Hyundai Reply.
 13
         Amended Complaint ¶ 11.
 14
         Id. at ¶ 14.
 15
         Id. at ¶ 19.


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      x Nixon, a Florida resident, entered into a two-year contract to lease a new MY 2023
        Ioniq 5 electric vehicle from a Hyundai dealership in Florida. 16
      x Bright, a California resident, purchased a MY 2022 Kia EV6 electric vehicle from a
        Kia dealership in California. 17
      x Mahon, a resident of Illinois, purchased a MY 2022 Hyundai Ioniq 5 electric
        vehicle from a Hyundai dealership in Wisconsin. 18
      x Conheim, a California resident, purchased a MY 2022 Hyundai Ioniq 5 electric
        vehicle from a Hyundai dealership in New Mexico. 19
      x Barnie, a New York resident, purchased a MY 2022 Kia EV6 electric vehicle from
        a Kia dealership in New York. 20

         In this class action lawsuit, Plaintiffs allege that the Class Vehicles—defined as the
 Hyundai Ioniq 5, Ioniq 6, Kia EV6, Kia Niro EV, Kia PHEV, and Genesis GV60 21—are
 defective and that they do not charge as advertised. 22 The Nationwide Class is defined as
 all persons or entities who purchased or leased one or more of the Class Vehicles. 23 The
 State Sub-Classes are defined as all members of the Nationwide Class in California,
 Florida, Georgia, Illinois, New Mexico, and New York. 24

         Plaintiffs allege that Defendants knowingly and intentionally concealed the Class
 Vehicles’ defects. 25 Plaintiffs contend that they would not have purchased the Class
 Vehicles, or would have paid less, if Defendants disclosed the defects. 26 Plaintiffs assert
 the following 19 claims for relief:

      x violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030; 27




 16
         Id. at ¶ 22.
 17
         Id. at ¶ 25.
 18
         Id. at ¶ 30.
 19
         Id. at ¶ 35.
 20
         Id. at ¶ 40.
 21
         Id. at ¶ 2 n.1.
 22
         See generally id.
 23
         Id. at ¶ 92.
 24
         Id.
 25
         Id. at ¶ 153.
 26
         Id. at ¶ 13.
 27
         Id. at ¶¶ 102-122.


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      x violation of the California Computer Data Access and Fraud Act, Cal. Penal Code
        § 502; 28
      x violation of the California Unfair Competition Law, Cal. Bus. & Prof. Code
        § 17200; 29
      x violations of the California Consumer Legal Remedies Act, Cal. Civ. Code
        § 1750; 30
      x violation of the California False Advertising Law, Cal. Bus. & Prof. Code
        § 17500; 31
      x trespass to chattels; 32
      x violations of New York General Business Law § 349; 33
      x violations of New York General Business Law § 350; 34
      x unjust enrichment; 35
      x violation of Georgia’s Fair Business Practices Act, GA. Code Ann. § 10-1-390; 36
      x violation of the Georgia Uniform Deceptive Trade Practices Act, GA. Code Ann.
        § 10-1-370; 37
      x unjust enrichment; 38
      x violations of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann.
        § 501.201; 39
      x unjust enrichment; 40
      x violations of the California Consumer Legal Remedies Act, Cal. Civ. Code
        § 1750; 41




 28
         Id. at ¶¶ 123-140.
 29
         Id. at ¶¶ 141-148.
 30
         Id. at ¶¶ 149-165.
 31
         Id. at ¶¶ 166-173.
 32
         Id. at ¶¶ 174-181.
 33
         Id. at ¶¶ 182-198.
 34
         Id. at ¶¶ 199-215.
 35
         Id. at ¶¶ 216-225.
 36
         Id. at ¶¶ 226-240.
 37
         Id. at ¶¶ 241-245.
 38
         Id. at ¶¶ 246-255.
 39
         Id. at ¶¶ 256-268.
 40
         Id. at ¶¶ 269-278.
 41
         Id. at ¶¶ 279-295.


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      x violations of the California Unfair Competition Law, Cal. Bus. & Prof. Code
        § 17200; 42
      x violation of the California False Advertising Law, Cal. Bus. & Prof. Code
        § 17500; 43
      x violation of the Illinois Consumer Fraud Act, 815 ILCS 505/1-12; 44 and
      x violation of the New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-1. 45


                                III. LEGAL STANDARD

          Pursuant to the Federal Arbitration Act (the “FAA”), “[a] written provision in
 any . . . contract evidencing a transaction involving commerce to settle by arbitration a
 controversy thereafter arising out of such contract . . . shall be valid, irrevocable, and
 enforceable, save upon such grounds as exist at law or in equity for the revocation of any
 contract.” 9 U.S.C. § 2. While the FAA reflects a “liberal federal policy favoring
 arbitration,” AT & T Mobility v. Concepcion, 563 U.S. 333, 339 (2011) (quoting Moses H.
 Cone Memorial Hosp. v. Mercury Const. Corp., 460 U.S. 1, 24 (1983)), “arbitration is a
 matter of contract and a party cannot be required to submit to arbitration any dispute
 which he has not agreed so to submit,” United Steelworkers v. Warrior & Gulf Navigation
 Co., 363 U.S. 574, 582 (1960). “Because the FAA mandates that ‘district courts shall
 direct the parties to proceed to arbitration on issues as to which an arbitration agreement
 has been signed,’ the FAA limits courts’ involvement to ‘determining (1) whether a valid
 agreement to arbitrate exists and, if it does, (2) whether the agreement encompasses the
 dispute at issue.’” Cox v. Ocean View Hotel Corp., 533 F.3d 1114, 1119 (9th Cir. 2008)
 (internal citations and emphasis omitted) (citing Chiron Corp. v. Ortho Diagnostic Sys.,
 Inc., 207 F.3d 1126, 1131 (9th Cir. 2000)).

         In evaluating the validity of an arbitration agreement, a federal court “appl[ies]
 ordinary state-law principles that govern the formation of contracts,” Ingle v. Circuit City
 Stores, Inc., 328 F.3d 1165, 1170 (9th Cir. 2003) (quoting First Options of Chi., Inc. v.
 Kaplan, 514 U.S. 938, 944 (1995)), “while giving due regard to the federal policy in favor
 of arbitration by resolving ambiguities as to the scope of arbitration in favor of
 arbitration,” Mundi v. Union Sec. Life Ins. Co., 555 F.3d 1042, 1044 (9th Cir. 2009)
 (quoting Wagner v. Stratton Oakmont, Inc., 83 F.3d 1046, 1049 (9th Cir. 1996)).



 42
         Id. at ¶¶ 296-303.
 43
         Id. at ¶¶ 304-311.
 44
         Id. at ¶¶ 312-321.
 45
         Id. at ¶¶ 322-334.


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                                    IV. DISCUSSION

 A.     Valid Agreements to Arbitrate Exist

        1.      Applicable Law

         “The threshold issue in deciding a motion to compel arbitration is ‘whether the
 parties agreed to arbitrate.’” Quevedo v. Macy’s, Inc., 798 F. Supp. 2d 1122, 1133 (C.D.
 Cal. 2011) (citing Van Ness Townhouses v. Mar Indus. Corp., 862 F.2d 754, 756 (9th Cir.
 1988)). “In determining whether the parties have agreed to arbitrate, ‘district courts rely
 on the summary judgment standard of Rule 56 of the Federal Rules of Civil Procedure.’”
 Pierre v. IEC Corp., 2023 WL 3551962, at *3 (C.D. Cal. Mar. 14, 2023) (citing Hansen v.
 LMB Mortg. Servs., Inc., 1 F.4th 667, 670 (9th Cir. 2021)). A factual dispute is genuine if
 “a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty
 Lobby, Inc., 477 U.S. 242, 248 (1986). The non-moving party “must do more than simply
 show that there is some metaphysical doubt as to the material facts.” Matsushita Elec.
 Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). “[O]nce a district court
 concludes that there are genuine disputes of material fact as to whether the parties formed
 an arbitration agreement, the court must proceed without delay to a trial on arbitrability
 and hold any motion to compel arbitration in abeyance until the factual issues have been
 resolved.” Hansen, 1 F.4th at 672.

        2.      Plaintiffs’ Enrollment in the Services Providing Arbitration
                Agreements

                a.     Kia

                       i.    Kia Connect Services

        In the Kia Motion, Kia asserts that Bright and Barnie enrolled in Kia Connect, “an
 integrated in-vehicle communications and entertainment system that provides consumers
 with vehicle features such as navigation, alerts, roadside assistance, and cloud voice
 recognition. [Kia Connect] also allows consumers to perform various tasks from their
 smartphone, including vehicle charging, including remotely charging their vehicle, setting
 charging schedules, and receiving charging status notifications.” 46 Bright and Barnie
 have “repeatedly logged into their Kia Connect accounts,” and, by doing so, they
 “agreed to the current version of the Kia Connect Terms of Service.” 47



 46
        Decl. of Sujith Somasekharan in Supp. of the Kia Motion (the “Somasekharan
 Declaration”) [ECF No. 29-2] ¶¶ 4 & 6.
 47
        Id. at ¶ 16.


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         To enroll in Kia Connect, a consumer selects the “Kia Connect” button on the
 dashboard, followed by the ”Kia Connect Settings” button. 48 After making those
 selections, the consumer is directed to another screen, where he or she is required to click
 “Activate Service.” 49 Then the consumer is presented with the Kia Connect Terms of
 Service on the dashboard screen. 50 The consumer can scroll through the Terms of
 Service, and he or she is required to check a box agreeing to those terms. 51 After
 completing that initial in-vehicle step, the consumer is prompted to enter his or her
 mobile phone number or email address to obtain a verification code necessary to complete
 enrollment. 52 The consumer then receives the Kia Owners Portal registration page,
 which requires the consumer to select a checkbox acknowledging that he or she has “read
 and agree[d] to the Kia Connect Terms of Service” before he or she can create an
 account and obtain a verification code. 53 The phrase “Kia Connect Terms of Service” is
 offset in red, italicized text, and, if it is clicked, the system presents the consumer with the
 full text of the agreement. 54 After agreeing to the Terms of Service by selecting the
 checkbox, the consumer must click a button stating “ACCEPT TO GET THE
 CODE.” 55 The consumer also must complete a single webform entitled “CREATE
 ACCOUNT,” which requires the consumer to enter his or her personal information. 56
 After entering that information, the consumer is required to select another checkbox
 acknowledging that he or she has “read and agree[d] to the General Terms of Use.” 57
 Then the consumer presses the “SAVE” button, thereby accepting and agreeing to the
 General Terms of Use. 58 After completing those steps, the consumer is provided with a
 verification code, which he or she must enter on the vehicle’s on-screen dashboard to
 complete the enrollment process. 59




 48
        Id. at ¶ 7.
 49
        Id.
 50
        Id.
 51
        Id.
 52
        Id. at ¶ 8.
 53
        Id. at ¶ 9.
 54
        Id.
 55
        Id.
 56
        Id. at ¶ 10.
 57
        Id.
 58
        Id.
 59
        Id.


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                       ii.    Kia Arbitration Agreement

        The Kia Connect Terms of Service provide as follows:

        These terms require you to arbitrate any disputes you have with us on an
        individual basis. This means you waive the ability to bring claims against us
        in a class or representative action to the maximum extent permitted by law. 60

 The consumer agrees to arbitrate “any matters relating to or arising out of your Vehicle
 purchase, ownership, or lease, except any disputes or claims which are under governing
 law are not subject to arbitration, to the maximum extent permitted by applicable law.” 61
 The arbitration agreement includes, but is not limited to, “claims based in contract, tort,
 warranty, statute, fraud, misrepresentation or any other legal theory[.]” 62 The arbitration
 agreement states that “the Federal Arbitration Act governs the interpretation and
 enforcement of this arbitration provision.” 63 “All issues are for the arbitrator to decide,
 including the scope and enforceability of this arbitration provision as well as the
 Agreement’s other terms and conditions[.]” 64

                       iii.   Plaintiffs’ Response

        In Plaintiffs’ Opposition, Bright asserts that she did not know that there was an
 arbitration agreement anywhere in the Terms and Conditions of the Kia Connect
 Service. 65 Bright contends that her vehicle’s Connected Services were configured at the
 dealership. 66 Specifically, a dealership employee instructed Bright to sign up for the
 Connected Services by using her cell phone. 67 The dealership employee assisted her with
 the signup process. 68 At one point, Bright passed her cell phone to the dealership
 employee so that the employee could make sure that Bright was enrolling properly. 69
 Bright contends that a dealership employee never told her about an arbitration agreement,

 60
        Somasekharan Declaration, Ex. D (“Kia’s Exhibit D”) [ECF No. 29-6] 2; id., Ex. F
 (“Kia’s Exhibit F”) [ECF No. 29-8] 2.
 61
        Kia’s Exhibit D 29; Kia’s Exhibit F 13.
 62
        Kia’s Exhibit D 30; Kia’s Exhibit F 13.
 63
        Kia’s Exhibit D 30; Kia’s Exhibit F 14.
 64
        Kia’s Exhibit D 32; Kia’s Exhibit F 14.
 65
        Decl. of Jane Chang Bright in Supp. of the Opposition (the “Bright Declaration”) [ECF
 No. 38-5] ¶ 3.
 66
        Id. at ¶ 4.
 67
        Id.
 68
        Id.
 69
        Id.


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 never showed her the Terms of Service, and never gave her a chance to accept, reject,
 question, or revise them. 70 Bright asserts that she did not give the dealership employees
 authority to accept an arbitration agreement on her behalf. 71 She testifies that “[t]he only
 authority [she] gave to dealership employees was to assist [her] with purchasing the
 vehicle and to verify that [she] was proceeding through the Connected Services signup
 process.” 72

        Similarly, Barnie asserts that he did not know that there was an arbitration
 agreement anywhere in the Terms and Conditions of the Kia Connect Services. 73 Barnie
 contends that his vehicle’s Connect Services were configured at the dealership. 74 The
 dealership employee told Barnie that Barnie should download the app and that it was
 important for using the vehicle’s capabilities to their fullest extent, such as charging and
 remote starting. 75 The dealership employee directed Barnie to the correct mobile app
 store and told him which app to download. 76 Barnie asserts that a dealership employee
 never told him about an arbitration agreement, never showed him the Terms of Service,
 and never gave him a chance to accept, reject, question, or revise them. 77 Barnie testifies
 that “[t]he only authority [he] gave to dealership employees was to assist [him] with
 purchasing the vehicle.” 78

                b.    Hyundai

                      i.     BlueLink Services

       Similarly, in the Hyundai Motion, Hyundai argues that Gould, Iyengar, Lobo,
 Nixon, Conheim, and Mahon enrolled in Hyundai BlueLink Services, “a connected car
 system that includes various functions and features.” 79 Gould, Iyengar, Lobo, Nixon, and



 70
        Id. at ¶ 5.
 71
        Id.
 72
        Id.
 73
        Decl. of Kingsley Barnie in Supp. of the Opposition (the “Barnie Declaration”) [ECF
 No. 38-8] ¶ 3.
 74
        Id. at ¶ 4.
 75
        Id. at ¶ 5.
 76
        Id. at ¶ 4.
 77
        Id. at ¶ 5.
 78
        Id.
 79
        Decl. of Vijay Rao in Supp. of the Hyundai Motion (the “Rao Declaration”) [ECF
 No. 32-2] ¶¶ 8 & 10-15.


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 Conheim each enrolled through the same Dealer-Assisted Enrollment process. 80 Mahon
 enrolled through the online Customer Web Portal enrollment process, 81 while Iyengar,
 Lobo, Mahon, and Conheim subsequently logged into the Hyundai Connected Services
 mobile application. 82

         To enroll through the Dealer-Assisted Enrollment Process, a customer agrees to
 the then-effective Connected Services Agreement, which is often called the Terms and
 Conditions. 83 A consumer must click the box to acknowledge that he or she has “read
 and agree[d] to the Blue Link Terms & Conditions[.]” 84 A consumer would then have to
 click the box to acknowledge his or her assent to the Terms and Conditions. 85 To enroll
 through the Customer Web Portal process, a consumer must click the box to acknowledge
 that he or she has “agree[d] to the Terms & Conditions” and then would have to click
 the “Place Order” button. 86

                          ii.   Hyundai Arbitration Agreement

       The Hyundai BlueLink Terms and Services include the following arbitration
 agreement:

       Hyundai and you agree to arbitrate any and all disputes and claims between
       us arising out of or relating to this Agreement, Connected Services,
       Connected Services Systems, Service Plans, the Vehicle, use of the sites, or
       products, services, or programs you purchase, enroll in or seek product
       support/service support for, whether you are a Visitor or Customer, via the
       sites or through mobile application, except any disputes or claims which
       under governing law are not subject to arbitration, to the maximum extent
       permitted by applicable law. This agreement to arbitrate is intended to be
       broadly interpreted and to make all disputes and claims between us subject to
       arbitration . . . to arbitrate otherwise includes, but is not limited to: claims




 80
       Id. at ¶¶ 10-14.
 81
       Id. at ¶ 15.
 82
       Id. at ¶¶ 21-25.
 83
       Id. at ¶¶ 9 & 16.
 84
       Id. at ¶ 17.
 85
       Id.
 86
       Id. at ¶ 18.


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        based in contract, tort, warranty, statute, fraud, misrepresentation or any
        legal theory . . . . 87

 The arbitration agreement further provides:

        [Y]ou and Hyundai are each waiving the right to a trial by jury or to
        participate in a class or representative action to the maximum extent
        permitted by law. This Agreement evidences a transaction in interstate
        commerce, and thus the Federal Arbitration Act governs the interpretation
        and enforcement of this arbitration provision. 88

                      iii.   Plaintiffs’ Response

        Gould asserts that he did not know that there was an arbitration agreement
 anywhere in the Hyundai BlueLink Terms and Conditions. 89 A dealership employee set
 up the Connected Services for Gould by downloading the app on Gould’s phone,
 registering him, and signing into the app using his newly registered profile. 90 Gould did
 not accept any terms; the services were set up and were fully functional before he began
 using them. 91 Gould testifies that a dealership employee never told him anything about an
 arbitration agreement, never showed him the terms, and never gave him a chance to
 accept, reject, question, or revise them. 92 Gould “did not give the dealership employees
 authority to accept an arbitration agreement on [his] behalf.” 93

        Similarly, Iyengar asserts that he did not know that there was an arbitration
 agreement in the Hyundai BlueLink Terms and Conditions. 94 A dealership employee
 completed the configuration process for him, and Iyengar does not recall accepting any
 terms associated with Hyundai BlueLink. 95 Iyengar testifies that a dealership employee
 never told him anything about an arbitration agreement, never showed him the Terms


 87
          Rao Declaration, Ex. C (“Hyundai’s Exhibit C”) [ECF No. 32-5] 12 (emphasis omitted);
 id., Ex. D (“Hyundai’s Exhibit D”) [ECF No. 32-6] 11.
 88
        Hyundai’s Exhibit C 13; Hyundai’s Exhibit D 11.
 89
        Decl. of David Gould in Supp. of the Opposition (the “Gould Declaration”) [ECF
 No. 38-2] ¶ 3.
 90
        Id. at ¶ 4.
 91
        Id. at ¶ 5.
 92
        Id. at ¶ 6.
 93
        Id.
 94
        Decl. of Kaushik Iyengar in Supp. of the Opposition (the “Iyengar Declaration”) [ECF
 No. 38-3] ¶ 3.
 95
        Id. at ¶ 4.


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 and Conditions, and never gave him a chance to accept, reject, question, or revise them. 96
 Iyengar “did not give the dealership employees authority to accept an arbitration
 agreement on [his] behalf.” 97

        Lobo also asserts that he did not know that there was an arbitration agreement in
 the Hyundai BlueLink Terms and Conditions. 98 The dealership employee asked Lobo to
 download the Connected Services app. 99 The dealership employee explained that the
 configuration of the Connected Services app was a “mandatory step” for the delivery of
 Lobo’s vehicle. 100 The dealership employee configured the Connected Services app for
 Lobo and then handed his phone back to him. 101 Lobo testifies that a dealership employee
 never told him about an arbitration agreement, never showed him the Terms and
 Conditions, and never gave him the chance to accept, reject, question, or revise them. 102
 Lobo “did not give the dealership employees authority to accept an arbitration agreement
 on [his] behalf.” 103 Lobo asserts that the “only authority [he] gave to dealership
 employees was to configure the Connected Services app.” 104

         Nixon likewise asserts that he did not know that there was an arbitration
 agreement in the Hyundai BlueLink Terms and Conditions. 105 The dealership delivered
 the vehicle to Nixon, and he was never physically present at the dealership. 106 The
 dealership employee did not discuss Connected Services with Nixon. 107 Nixon testifies
 that a dealership employee never told him about an arbitration agreement, never showed
 him the Terms and Conditions, and never gave him a chance to accept, reject, question,




 96
        Id. at ¶ 5.
 97
        Id.
 98
        Decl. of Brendon Lobo in Supp. of the Opposition (the “Lobo Declaration”) [ECF
 No. 38-1] ¶ 3.
 99
        Id. at ¶ 4.
 100
        Id.
 101
        Id.
 102
        Id. at ¶ 5.
 103
        Id.
 104
        Id.
 105
        Decl. of John Nixon in Supp. of the Opposition (the “Nixon Declaration”) [ECF
 No. 38-4] ¶ 3.
 106
        Id. at ¶ 5.
 107
        Id.


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 or revise them. 108 Nixon asserts that he “did not give the dealership employees authority
 to accept an arbitration agreement on [his] behalf.” 109

        Conheim asserts that he also did not know that there was an arbitration agreement
 in the Hyundai BlueLink Terms and Conditions. 110 Conheim’s vehicle’s Connected
 Services were configured at the dealership when Conheim picked up the vehicle. 111 A
 dealership employee obtained Conheim’s email address and phone number, and Conheim
 believes that the dealership employee used that information to begin the Connected
 Services setup process. 112 The Connected Services did not function properly, so
 Conheim later called Hyundai’s customer service department for assistance in setting up
 the Connected Services. 113 The dealership employee gave Conheim “a quick summary of
 any terms and conditions, instructing [him] to accept them in order to obtain the vehicle
 and access the Connected Services.” 114 A dealership employee never told Conheim about
 an arbitration agreement, never showed him the Terms and Conditions, and never gave
 him the chance to accept, reject, question, or revise them. 115 Conheim “did not give the
 dealership employees authority to accept an arbitration agreement on [his] behalf.” 116
 “The only authority [he] gave to dealership employees was to assist [him] with
 purchasing the vehicle, and to begin the Connected Services signup process.” 117

        Finally, Mahon asserts that he did not know that there was an arbitration
 agreement in the Hyundai BlueLink Terms and Conditions. 118 Mahon’s vehicle’s
 Connected Services were configured at the dealership. 119 The dealership employee made
 it “seem like a vehicle purchaser was required to sign up for [Connected Services] in




 108
        Id. at ¶ 6.
 109
        Id.
 110
        Decl. of Peter Conheim in Supp. of the Opposition (the “Conheim Declaration”) [ECF
 No. 38-6] ¶ 3.
 111
        Id. at ¶ 4.
 112
        Id.
 113
        Id.
 114
        Id. at ¶ 7.
 115
        Id. at ¶ 8.
 116
        Id.
 117
        Id.
 118
        Decl. of Shane Mahon in Supp. of the Opposition (the “Mahon Declaration”) [ECF
 No. 38-7] ¶ 3.
 119
        Id. at ¶ 4.


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 order to use the vehicle.” 120 The dealership employee also explained that, if Mahon
 signed up for the Connected Services, then he would receive a free two-year subscription
 to a third-party electric vehicle charging network. 121 The dealership employee instructed
 Mahon to download the Connected Services app. 122 During the signup process, Mahon
 received an email from Hyundai to set a password for the Connected Services. 123 At
 certain points during the signup process, “the dealership employee may have asked to use
 [his] cell phone as part of the process, and [he] may have provided it to him.” 124 Mahon
 does not recall accepting the terms himself. 125 Mahon testifies that a dealership employee
 never told him about an arbitration agreement, never showed him the Terms and
 Conditions, and never gave him the chance to accept, reject, question, or revise them. 126
 Mahon “did not give the dealership employees authority to accept an arbitration
 agreement on [his] behalf. The only authority [he] gave to dealership employees was to
 assist [him] with the purchase of the vehicle and the Connected Services signup
 process.” 127

        3.      Analysis

        After considering the relevant facts, the applicable law, and the positions of all
 parties, the Court concludes that a valid agreement to arbitrate exists between Plaintiffs
 and Kia and Hyundai.

        Plaintiffs argue that the relevant law governing these motions varies according to
 the state in which each Plaintiff purchased his or her subject vehicle: California (Bright),
 Georgia (Lobo), Wisconsin (Mahon), Florida (Nixon), New Mexico (Conheim), and New
 York (Barnie, Gould, and Iyengar). 128 Hyundai asserts that the Terms and Conditions are
 governed by California law, but “[e]ven if Plaintiffs’ home states’ law applied, the
 analysis would be the same.” 129 For avoidance of doubt, the Court applies the state law
 where each Plaintiff purchased the subject vehicle. See Franz v. Hyundai Motor Am., 2024


 120
        Id.
 121
        Id.
 122
        Id. at ¶ 5.
 123
        Id.
 124
        Id. at ¶ 6.
 125
        Id.
 126
        Id. at ¶ 7.
 127
        Id.
 128
        Opposition 4:20-22.
 129
        Hyundai Reply 8:26-28 n. 1.


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 WL 176227, at *6 (C.D. Cal. Jan. 12, 2024) (applying South Carolina law to analogous
 facts and arbitration language when the plaintiff purchased the vehicle in South Carolina).

               a.      Clickwrap Agreements

        Kia and Hyundai contend that the Kia Connect and Hyundai BlueLink Terms of
 Service are clickwrap agreements. 130 Under a clickwrap agreement, a “user is required to
 affirmatively acknowledge the agreement before proceeding with use of the website.”
 Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1176 (9th Cir. 2014). Courts regularly
 enforce arbitration clauses contained in clickwrap agreements. See, e.g., Valiente v.
 StockX, Inc., 645 F. Supp. 3d 1331, 1338 (S.D. Fla. 2022) (citation omitted) (granting a
 motion to compel arbitration and noting that “[i]n Florida and the federal circuits . . .
 click-wrap agreements are valid and enforceable contracts”); Rahim v. Chime Fin., Inc.,
 2022 WL 18459836, at *2 (N.D. Ga. Nov. 14, 2022) (noting that “Georgia courts have
 generally ruled that arbitration clauses” contained in clickwrap agreements are
 “enforceable”); Griffin v. Vivint Solar, Inc., 2021 WL 2186408, at *7 (D.N.M. May 28,
 2021) (citation omitted) (granting a motion to compel arbitration and noting that the
 “Tenth Circuit has ‘routinely’ upheld these type of ‘clickwrap’ agreements as
 enforceable”); Velasquez-Reyes v. Samsung Elecs. Am., Inc., 2020 WL 6528422, at *3
 (C.D. Cal. Oct. 20, 2020) (“clickwrap agreements have been consistently upheld by the
 courts and used to compel arbitration”); Plazza v. Airbnb, Inc., 289 F. Supp. 3d 537, 549
 (S.D.N.Y. 2018) (citation omitted) (in “New York, clickwrap agreements are valid and
 enforceable contracts”).

               b.      Authority Given to Dealership Employees

         Plaintiffs argue that the agreements cannot be enforced against them because
 Plaintiffs were not shown the Kia Connect or Hyundai BlueLink Terms of Service and
 Plaintiffs did not authorize Defendants’ employees to consent to Defendants’ respective
 terms. 131 But those arguments fail to create genuine issues of material fact regarding the
 existence of an Arbitration Agreement.

        Lobo, Conheim, Mahon, and Bright expressly admit that they gave authority to
 dealership employees to begin, assist, or configure the Connected Services signup
 process. 132 Gould implicitly acknowledges that he gave his phone to a dealership


 130
         Kia Motion 12:9-10; Hyundai Motion 7:23.
 131
         Gould Declaration ¶ 6; Iyengar Declaration ¶ 5; Lobo Declaration ¶ 5; Nixon Declaration
 ¶ 6; Bright Declaration ¶ 5; Conheim Declaration ¶ 8; Mahon Declaration ¶ 7; Barnie
 Declaration ¶ 5.
 132
        Lobo Declaration ¶ 5; Conheim Declaration ¶ 8; Mahon Declaration ¶ 7; Bright
 Declaration ¶ 5.


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 employee to set up the Connected Services app. 133 Iyengar admits that a dealership
 employee completed the configuration process for him the same day that he received the
 vehicle at the Hyundai dealership. 134

         Nixon asserts that the dealership delivered the vehicle to him and that the
 dealership employee did not discuss Connected Services with him. 135 However, Nixon
 fails to explain how his vehicle was enrolled in BlueLink.

         Barnie admits that she was “sitting in the vehicle” with a dealership employee as a
 part of the enrollment process. The dealership employee directed Barnie to the correct
 mobile app store and told her which app to download. 136

               c.     Agency Relationship Created

         Based upon the facts recited above, Plaintiffs cannot dispute that dealership
 employees were acting as their agents. Under California law, an agency relationship may
 be created informally through “conduct by each party manifesting acceptance of a
 relationship whereby one of them is to perform work for the other under the latter’s
 direction.” Malloy v. Fong, 37 Cal. 2d 356, 372 (1951). “The power of the principal to
 terminate the services of the agent gives him the means of controlling the agent’s
 activities.” Id. at 370. “Under Georgia law, an agency relationship can arise in three
 distinct ways: expressly, by implication, or through subsequent ratification by the
 principal of the agent’s conduct.” J’Carpc, LLC v. Wilkins, 545 F. Supp. 2d 1330, 1337
 (N.D. Ga. 2008). “In order that acts of an agent be binding on his alleged principal, a
 principal and agent relationship must be proved and it must be established that agent
 acted within scope of authority.” Anaya v. Coello, 279 Ga. App. 578, 580 (2006). “Under
 Wisconsin common law, agency doctrine allows a person to bind and be bound by the
 actions of another designated to act on his or her behalf.” Kolbe & Kolbe Millwork, Co. v.
 Manson Ins. Agency, Inc., 983 F. Supp. 2d 1035, 1041 (W.D. Wis. 2013). Under Florida
 law, a principal can create the appearance of an agent’s authority by knowingly permitting
 an agent to act in a certain manner as if he or she were authorized, by failing to correct a
 known misrepresentation by an agent that the agent has certain authority, or by silently
 acting in a manner that creates a reasonable appearance of an agent’s authority. See Ja
 Dan, Inc. v. L-J, Inc., 898 F. Supp. 894, 900 (S.D. Fla. 1995). Under New Mexico law,
 the principal’s “right to control, and not the actual exercise of control” is “an essential
 element of an agency relationship.” Alfaro-Huitron v. Cervantes Agribusiness, 982 F.3d

 133
        Gould Declaration ¶ 4.
 134
        Iyengar Declaration ¶ 4.
 135
        Nixon Declaration ¶ 5.
 136
        Barnie Declaration ¶ 4.


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 1242, 1253 (10th Cir. 2020). Under New York law, an “agency relationship can be
 created by written or spoken words or other conduct of the principal which, reasonably
 interpreted, causes the agent to believe that the principal desires him so to act on the
 principal's account.” Liu Jo S.P.A. v. Jenner, 630 F. Supp. 3d 501, 516 (S.D.N.Y. 2022)
 (citation omitted).

         In Velasquez-Reyes, the plaintiff took a phone to a T-Mobile store for activation.
 See Velasquez-Reyes, 2020 WL 6528422, at *1. The sales representative completed the
 set-up process at the store. See id. The phone displayed a Terms and Conditions page,
 which contained a binding arbitration clause. See id. The sales representative could not
 continue setting up the phone until clicking an “Agree to all” bubble next to the words
 “Terms and Conditions.” See id. The sales representative then had to click “Next” to
 continue. See id. The sales representative did not say anything to the plaintiff about the
 arbitration agreement or about any other terms and conditions. See id. at *2. The court
 enforced the arbitration agreement. Applying California agency principles, the court
 concluded that the plaintiff “could have asked the representative to stop at any time or
 asked for his [phone] back, meaning the representative was subject to his control.” Id. at
 *3; see also, e.g., Nicosia v. Amazon.com, Inc., 384 F. Supp. 3d 254, 269 (E.D.N.Y. 2019)
 (granting a motion to compel arbitration under agency principles when the plaintiff gave
 her account password to her friend and allowed the friend to enroll the plaintiff in the
 service); Hofer v. Gap, Inc., 516 F. Supp. 2d 161, 175 (D. Mass. 2007) (concluding that the
 plaintiff was bound to Expedia’s terms and conditions under agency principles by giving
 her friend permission to book her travel plans on the website).

        In three recent cases, district courts have enforced orders compelling arbitration
 with respect to analogous facts and the same arbitration language. See Franz, 2024 WL
 176227, at *6 (concluding that an agency relationship existed between the plaintiff and the
 dealership employee when the dealership employee enrolled the plaintiff into BlueLink
 services); Tamburo v. Hyundai Motor Am. Corp., 2024 WL 22230, at *4 (N.D. Ill. Jan. 2,
 2024) (concluding that the plaintiff agreed to the arbitration provision when signing up
 for BlueLink services); Maranda v. Hyundai Motor Am., Inc., 2023 WL 6474450, at *7
 (C.D. Cal. Oct. 2, 2023) (concluding that “the dealership employees acted as [p]laintiffs’
 agents” by completing the sign-up processes for BlueLink and Kia services).

               d.     Conclusion

        In view of those authorities, the Court concludes as a matter of law that Plaintiffs
 authorized dealership employees to enter into the agreements on their behalf.
 Additionally, Bright, Barnie, Lobo, Iyengar, Mahon, and Conheim assented to the
 services’ Terms of Use by subsequently logging into the Hyundai BlueLink Connected
 Services and Kia Services applications. Plaintiffs fail to dispute that the dealership



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 employees were acting as their agents. Therefore, the Court concludes that a valid
 agreement to arbitrate exists.

 B.     The Arbitration Agreements Encompass Plaintiffs’ Claims

         Kia and Hyundai assert that Plaintiffs’ claims are covered by the arbitration
 agreements. 137 Plaintiffs do not address that point. Therefore, any argument that
 Plaintiffs could make in defense is waived. See Hartranft v. Encore Cap. Grp., Inc., 2021
 WL 2473951, at *10 (S.D. Cal. June 16, 2021) (“where a non-moving party fails to address
 an argument raised by the moving party in the opposition brief, the Court may consider
 any arguments unaddressed by the non-moving party as waived”). Accordingly, the
 Court concludes that the arbitration agreements encompass Plaintiffs’ claims.

 C.     Unconscionability

       Plaintiffs argue that the arbitration agreements are unenforceable because they are
 procedurally and substantively unconscionable. 138

        In California, contractual unconscionability has both a procedural and a
 substantive component. See Armendariz v. Found. Health Psychcare Servs., Inc., 24
 Cal. 4th 83, 114 (2000). To establish unconscionability, “the party opposing arbitration
 must demonstrate that the contract as a whole or a specific clause in the contract is both
 procedurally and substantively unconscionable.” Poublon v. C.H. Robinson Co., 846 F.3d
 1251, 1260 (9th Cir. 2017) (citing Sanchez v. Valencia Holding Co., LLC, 61 Cal. 4th 899,
 910 (2015)) (emphasis added). California uses a sliding scale to determine
 unconscionability: “the more substantively oppressive the contract term, the less
 evidence of procedural unconscionability is required to come to the conclusion that the
 term is unenforceable, and vice versa.” Id. (quoting Sanchez, 61 Cal. 4th at 910).

        “Georgia’s unconscionability doctrine contemplates both procedural
 unconscionability, which ‘addresses the process of making the contract,’ and substantive
 unconscionability, which ‘looks to the contractual terms themselves.’” Cappuccitti v.
 DirecTV, Inc., 623 F.3d 1118, 1124 (11th Cir. 2010) (citation omitted). A “contract of
 adhesion requiring arbitration is not per se unconscionable or unenforceable[.]” Hopkins
 v. World Acceptance Corp., 798 F. Supp. 2d 1339, 1346 (N.D. Ga. 2011).

        “Under Florida law, unconscionability will invalidate an arbitration agreement if a
 party shows that it has procedural and substantive unconscionability.” Solis v. Am.
 Express Nat’l Bank, 2023 WL 4474322, at *2 (M.D. Fla. July 11, 2023), report and

 137
        Kia Motion 16:9-18; Hyundai Motion 17:1-18.
 138
        Opposition 8:11-11:13.


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 recommendation adopted by 2023 WL 4831307 (M.D. Fla. July 28, 2023). The “procedural
 and substantive aspects of unconscionability must be present, although not necessarily to
 the same degree, and both should be evaluated interdependently rather than as
 independent elements.” Basulto v. Hialeah Auto., 141 So. 3d 1145, 1161 (Fla. 2014).

         Under New Mexico law, a “contract can be procedurally or substantively
 unconscionable.” Laurich v. Red Lobster Restaurants, LLC, 295 F. Supp. 3d 1186, 1210
 (D.N.M. 2017). “While there is a greater likelihood of a contract’s being invalidated for
 unconscionability if there is a combination of both procedural and substantive
 unconscionability, there is no absolute requirement in our law that both must be present
 to the same degree or that they both be present at all.” Id. at 1211 (citation omitted).
 “Procedural and substantive unconscionability often have an inverse relationship. The
 more substantively oppressive a contract term, the less procedural unconscionability may
 be required for a court to conclude that the offending term is unenforceable.” Cordova v.
 World Fin. Corp. of NM, 146 N.M. 256, 263 (N.M. 2009).

         Under New York law, an arbitration agreement “is unconscionable when it is so
 grossly unreasonable or unconscionable in the light of the mores and business practices of
 the time and place as to be unenforceable according to its literal terms.” Ragone v. Atl.
 Video at Manhattan Ctr., 595 F.3d 115, 121 (2d Cir. 2010) (internal quotation marks and
 citation omitted). “Courts assess overall unconscionability by applying a sliding scale
 where the more questionable the meaningfulness of choice, the less imbalance in a
 contract’s terms should be tolerated and vice versa.” Haft v. Haier US Appliance Sols.,
 Inc., 578 F. Supp. 3d 436, 452 (S.D.N.Y. 2022) (internal quotation marks and citation
 omitted).

        Under Wisconsin law, “[p]rocedural and substantive unconscionability factors
 must be weighed ‘on a case-by-case basis.’” Schultz v. Epic Sys. Corp., 376 F. Supp. 3d
 927, 933 (W.D. Wis. 2019) (citation omitted). “The more substantive unconscionability
 present, the less procedural unconscionability is required, and vice versa.” Wisconsin
 Auto Title Loans, Inc. v. Jones, 290 Wis. 2d 514, 533–34 (Wis. 2006).

       1.     Procedural Unconscionability

              a.     Applicable Law

        Under California law, procedural unconscionability “concerns the manner in
 which the contract was negotiated and the circumstances of the parties at that time.”
 Kinney v. United HealthCare Servs., Inc., 70 Cal. App. 4th 1322, 1329 (1999). The focus is
 whether there is “oppression or surprise due to unequal bargaining power.” Poublon, 846
 F.3d at 1260 (quoting Pinnacle Museum Tower Ass’n v. Pinnacle Mkt. Dev. (US), LLC, 55
 Cal. 4th 223, 236 (2012)). Oppression “arises from an inequality in bargaining power



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 which results in no real negotiation and an absence of meaningful choice.” Stirlen v.
 Supercuts, Inc., 51 Cal. App. 4th 1519, 1531 (1997). Surprise is defined as “the extent to
 which the supposedly agreed-upon terms of the bargain are hidden in the prolix printed
 form drafted by the party seeking to enforce the disputed terms.” Gatton v. T-Mobile
 USA, Inc., 152 Cal. App. 4th 571, 581 (2007) (citation and quotations omitted).

        Under Georgia law, courts look to the following factors to determine whether a
 contract is procedurally unconscionable: “age, education, intelligence, business acumen
 and experience of parties, their relative bargaining power, the conspicuousness of and
 comprehensibility of the contract language, the oppressiveness of the terms, and the
 presence or absence of meaningful choice.” Caley v. Gulfstream Aerospace Corp., 428 F.3d
 1359, 1377 (11th Cir. 2005) (citation omitted).

        Under Florida law, the “absence of meaningful choice when entering into the
 contract is often referred to as procedural unconscionability, which relates to the manner
 in which the contract was entered[.]” Basulto, 141 So. 3d at 1157 (citation omitted). A
 contract of adhesion is a “strong indicator that the contract is procedurally
 unconscionable because it suggests an absence of meaningful choice,” but “the presence
 of an adhesion contract alone does not require a finding of procedural unconscionability.”
 VoiceStream Wireless Corp. v. U.S. Commc’ns, Inc., 912 So. 2d 34, 40 (Fla. Dist. Ct. App.
 2005) (internal quotation marks and citation omitted).

        Under New Mexico law, procedural unconscionability “is determined by analyzing
 the circumstances surrounding the contract’s formation, such as whether it was an
 adhesive contract and the relative bargaining power of the parties.” Laurich, 295
 F. Supp. 3d at 1211. Adhesion contracts “generally warrant heightened judicial
 scrutiny,” and adhesion contracts are “procedurally unconscionable and unenforceable
 when the terms are patently unfair to the weaker party.” Jerry Erwin Assocs., Inc. v. Est. of
 Asher by & through Zangara, 290 F. Supp. 3d 1213, 1241 (D.N.M. 2017) (citation omitted).

        Under New York law, even “a form contract that is offered on a ‘take it or leave it’
 basis” may be valid and “inequality in bargaining position alone is not sufficient.”
 Catalano v. MarineMax, 590 F. Supp. 3d 487, 506 (E.D.N.Y. 2022) (internal quotation
 marks and citation omitted).

         Under Wisconsin law, “[p]rocedural unconscionability relates to factors bearing
 on the meeting of the minds of the contracting parties, such as age, education,
 intelligence, business acumen and experience, relative bargaining power, who drafted the
 contract, whether the terms were explained to the weaker party, whether alterations in
 the printed terms would have been permitted by the drafting party, and whether there
 were alternative providers of the subject matter of the contract.” Aul v. Golden Rule Ins.
 Co., 304 Wis. 2d 227, 245 (Wis. Ct. App. 2007).


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                b.      Analysis

        Plaintiffs assert that the arbitration agreements are procedurally unconscionable
 because the agreements are contracts of adhesion, Plaintiffs were not aware of the
 arbitration agreements, and Plaintiffs had no opportunity to opt out of the arbitration
 agreements. 139 Kia and Hyundai respond that an adhesion contract is not automatically
 procedurally unconscionable, and Plaintiffs either enrolled or authorized the dealer
 employees—as their agents—to enroll them in Kia Connect or Hyundai BlueLink
 Services. 140

         The Court concludes that the degree of procedural unconscionability here is
 minimal. The arbitration agreements are indeed contracts of adhesion. However,
 Plaintiffs have not shown that the arbitration agreements are oppressive or patently
 unfair. Therefore, this very minimal degree of procedural unconscionability does not bar
 enforcement of the arbitration agreements.

        2.      Substantive Unconscionability

                a.      Applicable Law

         Under California law, substantive unconscionability focuses “on overly harsh or
 one-sided results.” Armendariz, 24 Cal. 4th at 114 (citation omitted). An arbitration
 clause is substantively unconscionable if the terms “are so one-sided as to shock the
 conscience.” Kinney, 70 Cal. App. 4th at 1329. The mutuality of the agreement is the
 “paramount consideration” in assessing substantive unconscionability. Pokorny v.
 Quiztar, 601 F.3d 987, 997-98 (9th Cir. 2010). “Agreements to arbitrate must contain at
 least ‘a modicum of bilaterality’ to avoid unconscionability.” Id. (internal citations and
 quotations omitted).

        “Under Georgia law, an unconscionable contract is ‘such an agreement as no sane
 man not acting under a delusion would make and that no honest man would take
 advantage of.’” Caley, 428 F.3d at 1378 (citing Hall v. Fruehauf Corp., 179 Ga. App. 362,
 362 (1986)). Under Florida law, substantive unconscionability focuses on “the
 unreasonableness of the terms.” Basulto, 141 So. 3d at 1157-58. Under New Mexico law,
 substantive unconscionability “is found where the contract terms themselves are illegal,
 contrary to public policy, or grossly unfair.” State ex rel. King v. B & B Inv. Grp., Inc., 329
 P.3d 658, 670 (N.M. 2014). Under New York law, “[s]ubstantive unconscionability
 exists where the contractual terms are grossly unreasonable and favor the party seeking to


 139
        Id. at 10:20-11:13.
 140
        Kia Reply 18:14-19; Hyundai Reply 17:20-18:7.


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 enforce the contract.” Doe #1 v. Coll. Bd., 440 F. Supp. 3d 349, 355–56 (S.D.N.Y. 2020)
 (internal quotation marks and citation omitted). Under Wisconsin law, substantive
 unconscionability “refers to whether the terms of a contract are unreasonably favorable to
 the more powerful party. The analysis of substantive unconscionability requires looking
 at the contract terms and determining whether the terms are ‘commercially reasonable,’
 that is, whether the terms lie outside the limits of what is reasonable or acceptable.”
 Coady v. Cross Country Bank, 299 Wis. 2d 420, 440 (Wis. Ct. App. 2007).

               b.     Analysis

        Plaintiffs maintain that the arbitration agreements are substantively
 unconscionable because they create “infinite arbitration clauses.” 141 But Kia and
 Hyundai counter that the arbitration agreements are sufficiently limited. 142 For example,
 Kia contends that the arbitration provision “is limited to disputes arising out of the
 agreement, Kia Connect (which includes vehicle charging features), Plaintiffs’ vehicles,
 and Plaintiffs’ use of their vehicles.” 143 Similarly, Hyundai asserts that the arbitration
 provision “is limited to disputes arising out of the agreement itself, Connected Services
 (which includes vehicle charging features), Plaintiffs’ vehicles, and Plaintiffs’ use of their
 vehicles. The arbitration agreement would not, for example, extend to a shareholder suit
 against Hyundai. If Plaintiffs were employed by Hyundai, the arbitration agreement
 would not cover employment claims, either.” 144

        After considering the relevant facts and applicable law, the Court concludes that
 the arbitration agreements are not substantively unconscionable. The Court agrees with
 Defendants’ assertions that the arbitration agreements are sufficiently limited. Plaintiffs
 have failed to show that the arbitration agreements are grossly unreasonable.

       Thus, the Court concludes that the arbitration agreements are only minimally
 procedurally unconscionable and that they are not substantively unconscionable.
 Accordingly, the arbitration agreements are not unenforceable for unconscionability.

 D.     Discovery

       Plaintiffs request limited discovery regarding the enforceability of the arbitration
 agreements. 145 Defendants oppose that request, arguing that Plaintiffs have failed to


 141
        Opposition 9:1-10:15.
 142
        Kia Reply 18:1-19; Hyundai Reply 16:15-20.
 143
        Kia Reply 18:3-5.
 144
        Hyundai Reply 16:15-20.
 145
        Opposition 11:14-12:24.


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